Case 9:22-cv-81294-AMC Document 63 Entered on FLSD Docket 09/02/2022 Page 1 of 4




                                           O'RaneM .Cornish,Sr.,
                                           3767 N ew G etw ellR oad,
                                           M em phis,TN 38118.
                                           901/795-4405.
                                                                                        A ugust20,2022
   U nited States DistrictCourt,
   Southel'n DistrictofFlorida,                                              FILED BY                       D.C .
   W ilkie D .Ferguson Jr.Building,
   400 N W 1StA venue,
   M iam i,FL 33128.                                                               SE? 02 2022
           RE :Case N o.22-cv-81294 - an OFFEN SIVE filing....                      cAu24EGnLxb
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  A ttn:H on A ileen M .Cannon(AM C):                                               s.:)oi    zi't.
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           W hile perusing the Yahoo N ew s face page on m y com puter, Isaw an item tbatannounced
  thatthe attached wasfiled. 1beganreading i   t,andwasimmediatelyoffendedandrepulsed bythe
  statem entofthevery firstlinetheend ofwhich falsely stateét... ...president...... '' Ifind this
  extrem ely offensive asa citizen ofthe U nited States'
                                                       , asa United StatesAirForce Vietnam -era
  Veteran (1972-2002)Attachzjustsoyouknow.Theoffensiveverbiage ishighlighted in yellow
  fyi.Itism y ferventhopethatyourresponses, whateverform ittakes,to the filing,repudiatesthe
  impudentclaim evidenced by thatverbiage. M ay 1suggestthatyourvery firstlinestate
  som ething such as:lM ovantD onald H . Trum p im nronerlv identified as çpresident'
  Factis, aslam sureyou know,theUSA hasjustonePresidentatatime.                           ,

           To allow such verbiage to go unchallenged, isto give aid and com fortto the continued
  effot'tto underminethe Dem ocracy'  ,the good order;diseipline and freedom s, which havebeen
  thehallmarksofthegrand experim ent---theUnited StatesofAmerica. Please,1beseech you
  notto 1etthatanogantfalsity go unchallenged, becauseitiscorrosiveto ourfreedom s- our
  society,the form ofgovernm entw e chose to live by - - see whathappened on January 6th?
  Further,the Attorneyswho subm itted the filing should be sanctioned forthey should know better.
  Respectfully
                                   .A


  O ane M . Co ,rs ,, .                        x
  A distressed US Citizen.

 A ttach 1:1'1page copy offiling denom inated asM ovant's Supplem entalFiling in Support... ..
 Attach 2:Copy ofm yvery firstOrderasaM emberoftheUSAF dated 1972.
 cc:        M r.Juan Antonio Gonzalez, United StatesAttorney,
            99 N E 4thStreet, 8Flr,M iam i,FL 33132,
                                                   ,
                                and
           M r.Jay lBratt,Chief,Counterintelligence and ExportControlSection,
           N ationalSeeurity D ivision, 950PennsylvaniaAvenue,NW ,
           W ashington,D C 20530.

 N B :IN THE INTEREST O F A PPEA RAN CE , SU G GEST YO U RECU SE YO UR SELF .
C ase 9:
Case    22-cv-81294-AMC Document
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                                                           08/26/2022 Page 21 of
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                             UNITED STATES DISTRICT COURT
                             SO U TH ER N D ISTR IC T O F FLO R ID A

                                   CA SE N O .22-cv-81294-A M C

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  M ar-a-Lago
  1100 S.Ocean Blvd.
  Palm Beach,FL 33480


                  M O VA N T 'S SU PPLE M EN TAL FIL IN G IN SU PPO R T O F
            M O TIO N FO R JUD ICIAL O VER SIG H T AN D A D D ITIO N A L RELIEF

         Pursuantto theCourt'sOrderdated August23,2022,Dkt.l0                                   o   J, TI
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  (ûipresidentTrump''orSdM ovant'') by andthroughhisundersignedcounsel,respectfully submits
  thissupplem entaltiling in supportofhisM otion forJudicialO versightand A dditionalRelief. This

  supplem entalfilingrespondsto theCourt'srequestthatM ovantprovideadditionalinform ation on

  thebasisfortheCourt'sjurisdictioninthisproceeding,thereliefsought,andanyanticipatedeffect
  on am atterbeforeM agistrateJudge BruceE.Reinhart,whichhaslargely concluded with today's

  release ofa heavily redacted affidavit.This filing also addresses the status ofM ovant'sefforts to

  perfectservice on the Governm ent.

         ThisCourthasjurisdictiontoprovidetheequitablereliefsoughtbyM ovantpursuanttothe
  Court'sequitableandancillaryjurisdiction,aswellasFcderalRulcofCivilProcedure53.InM ay
  2021,the Govem m entpursued a sim ilaravenue forrequesting the appointm entofa SpeeialM aster

  in ln re Search Warrants Executed on April28,2021,No.1:21-mc-00425 (S.D.N.Y.).After
  securing asearch warrantfrom a magistratejudge in the U.S.DistrictCourtforthe Southern
  DistrictofNew York,theU.S.DepartmentofJusticewrotealettertoadistrictjudgeseekingthe
  appointment of a Special M aster. See 1d., Dkt.1. There, the Departm ent of Justice wrote,

  ttconsistentw ith a court's supervisory authority .   . .   the courtm ay ...appoint a speeialm aster
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